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                                   STATEMENT OF FACTS

        Your affiant, Andrew M. Tews, is a Special Agent with the Federal Bureau of Investigation
(FBI). I have been in this position since January 2011. In addition to completing the FBI academy,
I have received additional training in the areas of violent crime, national security, counter
terrorism, and domestic terrorism. During my time as a Special Agent, I have been involved in
numerous investigations as the primary investigator and in subsidiary roles. Currently, I am a
tasked with investigating criminal activity in and around the Capitol grounds on January 6, 2021.
As a Special Agent, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House
and Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary barricades and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 PM, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 PM members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 PM. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Following the events of January 6, 2021, members of the public contacted the FBI to inform
the agency that an individual had posted video to the Instagram accounts @micajahjackson and
@thejfkreport, and that the video appeared to have been taken by someone who breached the U.S.
Capitol.

        A review of the posts and videos from Instagram accounts @micajahjackson and
@thejfkreport on January 6, 2021, include photographs and videos of individuals entering and
remaining inside the U.S. Capitol, but the photographer/videographer does not show himself in the
photos/videos. The Instagram accounts @micajahjackson and @thejfkreport have photographs—
including selfies and mirror selfies—of an individual who matches the driver’s license photograph
(not pictured) of Micajah Joel Jackson. The accounts @micajahjackson and @thejfkreport are
associated with the email address micajahjackson@gmail.com and phone number 480-236-5284.
The phone number 480-236-5284 is associated with Micajah J. Jackson.




PHOTOGRAPH 1: A photograph of defendant Micajah J. JACKSON in a mirror selfie posted to social media wearing
distinctive clothing in what appears to be a hotel room on January 6, 2021. The defendant did not yet have an orange
armband on his left bicep.

       Through legal process served on Facebook, law enforcement viewed photographic and
video content of an account created using the email address micajahjackson@gmail.com and
phone number 480-236-5284. The social media content includes photographs of an individual
wearing the same distinctive clothing, including a flannel shirt, USA hat, green cargo pants, yellow
gloves, and an orange arm band on his left arm. This individual is also shown wearing a black
backpack and carrying a U.S. flag.
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PHOTOGRAPH 2: A photograph of defendant Micajah J. JACKSON wearing the same distinctive clothing from
PHOTOGRAPH 1 along with a black facemask and an orange armband in the vicinity of the Washington Monument
on January 6, 2021. The defendant stated that Proud Boys from Arizona gave him the orange armband.




SCREENSHOTS 1 & 2: (left) A screenshot of defendant Micajah J. JACKSON’s Instagram account @thejfkreport
and (right) a screenshot of defendant Micajah J. JACKSON’s Instagram account @micajahjackson. Both accounts
are associated with the email micajahjackson@gmail.com and phone number 480-236-5284.
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       At the time of the writing of this Statement of Facts, it appears that the Instagram account
@micajahjackson has been made private and the Instagram account @thejfkreport has deleted any
posts made between January 2, 2021, and January 15, 2021.

        Your affiant has reviewed the publicly available material on @thejfkreport. On December
11, 2020, the account @thejfkreport posted a picture that appears to depict George Washington
crossing the Delaware with the following words beneath it: AMERICANS[.] WILLING TO CROSS A
FROZEN RIVER TO KILL YOU. IN YOUR SLEEP. ON CHRISTMAS. TOTALLY NOT KIDDING. WE’VE DONE
IT. The account @thejfkreport added the caption:

       Good Night America      🇺🇸




SCREENSHOT 3: A screenshot of a post to one of defendant Micajah J. JACKSON’s Instagram accounts
(@thejfkreport) from December 11, 2020.
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       On December 12, 2020, the account @thejfkreport posted a screenshot of what appears to
be a tweet from the verified account of Donald J. Trump (WE HAVE JUST BEGUN TO
FIGHT!!!) with the following caption:

        @realdonaldtrump @whitehouse You tell us when Sir. You are the commander in Chief.
        WE WILL NOT CONCEDE         🇺🇸 The Alt-Left will not reign a crony Democracy. WE
        ARE A CONSTITUTIONAL- REPUBLIC 🇺🇸




SCREENSHOT 4: A screenshot of a post to one of defendant Micajah J. JACKSON’s Instagram accounts
(@thejfkreport) from December 12, 2020.

        Your affiant has also reviewed photographs and videos that are publicly available on the
internet. The defendant appears in many of those videos, often referred to by the hashtags assigned
to him by internet sleuths. These hashtags include #yellowglovesorangearmband and
#tartanplaidPB.
        It is your affiant’s understanding that the letters PB in #TartanPlaidPB appear to stand for
Proud Boy.1 This is likely because on January 6, the defendant is seen on many occasions and at
different times with the Proud Boys from Arizona. ON January 6, the Proud Boys from Arizona
appear to have adopted the color orange, wearing orange hats, armbands, facemasks, and/or orange
duct tape applied to helmets or other items of clothing to identify their affiliation with each other.




1
  The Proud Boys is a nationalist organization with multiple U.S. chapters and potential activity in other Western
countries. The group describes itself as a “pro-Western fraternal organization for men who refuse to apologize for
creating the modern world; aka Western Chauvinists.” Proud Boys members routinely attend rallies, protests, and
other events where they sometimes engage in violence against individuals whom they perceive as threats to their
values. The group has an initiation process for new members, who often wear yellow clothing or accessories or other
apparel adorned with the Proud Boys logo to events.
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      A publicly available photograph shows the defendant walking on January 6, 2021, with a
group of individuals who identified themselves as Proud Boys walking near the Washington
Monument.2




PHOTOGRAPH 3: The defendant walked with a group of individuals who identified themselves as Proud Boys towards the U.S.
Capitol from the Washington Monument on January 6, 2021.

        As the defendant neared the U.S. Capitol, he was again seen walking with a group of
individuals—some of whom are wearing orange clothing or orange markings on their clothes. The
defendant is walking next to an individual who is yelling through a bullhorn: WHOSE STREETS?
        The group can be heard yelling in response: OUR STREETS.3 At the front of the group
with a bullhorn of his own is Proud Boys organizer and separately indicted defendant Joe Biggs.4




2
   https://media4.s-nbcnews.com/j/newscms/2021_05/3446596/210201-proud-boys-capitol-ew-
1127a_f3159ad2a01afd6f193a251280531003.fit-2000w.jpg
3
  https://youtu.be/oN5uqwPcsPo
4
  https://youtu.be/DHessyWYXqM
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SCREENSHOT 5: The defendant walked with a group of individuals led by Proud Boys organizer Joe Biggs, some of whom were
dressed in orange, towards the U.S. Capitol on January 6, 2021. After the man with the bullhorn asked: WHOSE STREETS? the
crowd responded: OUR STREETS!

       The group encountered its first barricades at approximately 12:55 PM.5 After a brief period,
the group breached that barricade, and soon thereafter the group breached a second barricade on
Pennsylvania Walkway.6 The group soon flooded the Lower West Plaza.7 At a certain point, law
enforcement agents deployed what appears to be a chemical irritant into the crowd, and the
defendant can be heard yelling: THEY’RE SPRAYING! HEY, WATCH OUT!8




SCREENSHOT 6: The defendant ran away from law enforcement agents that were deploying what appears to be a chemical
irritant while yelling: THEY’RE SPRAYING! HEY, WATCH OUT!


5
  https://youtu.be/N1cIEdzmcWs
6
  Id.
7
  Id.
8
  https://youtu.be/IBUOVQmE5GQ
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       The defendant is again seen in the Lower West Plaza as the crowd continued to fill in
around him.9 At a certain point, some sort of explosive device detonated in the crowd near the
defendant. The flash of the detonation is visible in Screenshot 9 below.




SCREENSHOTS 7, 8, 9: (left to right, top to bottom) The defendant looked towards the North West inauguration scaffolding; the
defendant plugged his ears; and an unidentified explosive device detonated.




9
    https://youtu.be/MrW1bD9laoU
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       After the detonation of the explosive device, the crowd sang The Star-Spangled Banner,
giving especial emphasis to the line: The bombs bursting in air. The defendant then pointed
towards the Senate Wing of the Capitol and began moving in that direction.
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SCREENSHOTS 10, 11, 12, 13: (top to bottom) The defendant stood in front of the unidentified videographer after the crowd
sang The Star-Spangled Banner; the pointed towards the scaffolding/the Senate Wing of the Capitol (where he would eventually
enter); the defendant began walking in that direction; and the defendant continued walking in the direction of the Senate Wing
doors.
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       Law enforcement agents reviewed CCTV footage from approximately the same time that
the defendant posted photographs and videos to his social media accounts. While doing so, law
enforcement agents viewed the defendant with what appeared to be a cellphone recording or
streaming video while inside the U.S. Capitol. As can be seen in the screenshots below, the CCTV
footage matches the footage uploaded to social media accounts by the defendant.




SCREENSHOTS 14, 15: (left) A screenshot from U.S. Capitol CCTV showing defendant JACKSON
filming/streaming a video of an unidentified man in yellow just inside a window of the U.S. Capitol, and (right) a
screenshot from an Instagram Story defendant Micajah J. JACKSON posted to his Instagram account
(@micajahjackson) showing the same unidentified man in yellow. (The light blue circles and red box were digitally
added by your affiant for clarity and are not present in the original videos.)

       The screenshots below are portions of certain publicly available videos where the
defendant is seen inside the hallways of the Capitol and inside the National Statuary Hall.10 11 12




10
   https://twitter.com/Shermichael_/status/1346915565089206272
11
   https://twitter.com/bresreports/status/1346906836805578755
12
   https://youtu.be/CSF5FHIGlbg
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SCREENSHOTS 16, 17, 18: (left to right) The defendant walked through various areas of the Capitol building,
including the hallway leading to the National Statuary Hall and the National Statuary Hall itself. Some sort of smoke,
fog, cloud, or haze is visible to varying degrees in these screenshots.

       The defendant eventually left the Capitol and can again be seen on publicly available
photographs and videos on the Central East Stairs of the Capitol and in the Eastern Plaza.13




PHOTOGRAPH 4: The defendant looked back toward the Capitol while standing on the Central East Stairs of the
Capitol. The yellow circle and enlargement of the defendant were added for clarity.

13
     https://www.gettyimages.com/detail/news-photo/supporters-of-us-president-donald-trump-protest-outside-the-
news-photo/1230454767
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       The defendant is subsequently seen walking down the Central East Stairs and speaking
with an unidentified individual in the Eastern Plaza.14




SCREENSHOTS 19, 20: (top to bottom) The defendant walked into the Eastern Plaza and talked with an unidentified
individual.




14
     https://youtu.be/oy6Wyeqvsx0
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        On March 24, 2021, FBI agents, including your affiant, conducted a non-custodial
interview of the defendant at his residence. During the interview, the defendant stated in sum and
substance that he entered and remained inside of the U.S. Capitol and that he did so without
permission. The defendant identified the Instagram accounts @micajahjackson and @thejfkreport
as his. When FBI agents showed defendant Photograph 1 and Photograph 2 (above), the defendant
identified the individual in those photos as himself. When shown Screenshot 14 (above, but
without the light blue circle) from the U.S. Capitol CCTV video, the defendant also identified the
individual in the screenshot as himself. The defendant stated that the black backpack he is seen
wearing contained medical supplies.

        The defendant stated that he had traveled alone to Washington D.C. to attend the rally
scheduled for January 6, 2021. When asked about the orange armband, the defendant stated in sum
and substance that a group of Proud Boys from Arizona gave him the orange armband. The
armband appears to be bright orange electrical/duct tape that is wrapped around the defendant’s
left bicep.

        The defendant stated that he did not know and was not associated with the Proud Boys
prior to January 6, 2021. The defendant further stated that the only reason he was with the Proud
Boys on that date was because he had traveled to Washington, D.C., alone. The defendant further
stated that he just wanted to meet up with other people from Arizona. The defendant further stated
that he is not affiliated with the Proud Boys and does not support their ideology.

       On May 12, 2021, an individual with whom the defendant is connected on social media
and whose account is public, posted the following screenshot, allegedly written by the defendant
in which the defendant again claims no association with the Proud Boys. The post had the
following caption:

       @thejfkreport is being politically persecuted for simply being at Jan 6th. While
       BLM gets away with everything, and while we have open borders and lawlessness
       all over. #ABOLISHtheFBI #BigTechCensorShip #NovIIIStolen

       The Instagram account @micajahjackson left the comment:               on the post. The
Instagram account @thejfkreport left the following comment in response to another user:

       @[] They [the FBI] are taking me to Florence once charges pend. That’s 90 minutes
       away from where I live. Florence is the roughest jail in the U.S. They haven’t
       charged me yet because they don’t know what to charge me with for not being
       violent and walking with PB.
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SCREENSHOT 21: A post from one of the defendant’s social media connections allegedly written by the defendant
in which he claims that he is being politically persecuted, that he has evidence that “BLM, Antifa, DC Cops, and Non
Trump extremist [groups]” caused all the mayhem. The defendant then ends by stating: This is only the beginning
phase.

        Previously, that same account posted a picture of the defendant (tagged as @thejfkreport)
together with several other unidentified males and the caption: KAGA CREW. One comment to
the picture—a comment which was liked by the poster—stated: All you need is some body armor
and ARs and you’ll be ready to take your state back.




SCREENSHOT 22: A post from the defendant’s same social media connection as Screenshot 21 where the defendant
is tagged, and a comment encourages using body armor and assault rifles to “take your state back.” The defendant’s
shirt appears to read: I STILL HATE COMMIES EVEN AFTER THEY CHANGED THEIR NAME TO LIBERALS.
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       The defendant shared that same photograph on his account (@thejfkreport) with the
caption:

        Saturday is for the Boyz 🇺🇸                     [ . . . ]Arizona’s Patriot Squad        .

        A second individual—who is connected with the defendant on social media and who is
also tagged in Screenshot 22 (above) with the defendant—posted a video on December 14, 2020.
The post has the caption:

        Thousands of #ProudBoys patrolling the streets of #DC for communist scum. #uhuru




SCREENSHOT 23: A post from a second social media connection of the defendant who is tagged in the group picture
with the defendant in Screenshot 22. An individual in the screenshot is seen wearing a black hooded sweatshirt with
the yellow Proud Boys logo and the words, “Stand Back, Stand By” and the caption reads: Thousands of #ProudBoys
patrolling the streets of #DC for communist scum. #uhuru



        Your affiant is including this information about the defendant’s social media accounts
because while the defendant has repeatedly claimed to not be affiliated with any Proud Boys, there
is evidence through his social media connections that contradicts that claim. Your affiant does not
intend for the screenshots of posts made by the defendant’s social media connections to be used
for any reason other than as evidence of defendant’s intent in violating the subsequent statutes or
to contradict the self-serving statements made by the defendant to the FBI.
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Micajah Joel JACKSON violated 18 U.S.C. §§ 1752(a)(1) and (2), which make it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions or attempts or conspires
to do so. For purposes of 18 U.S.C. § 1752, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Micajah Joel JACKSON
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                     _________________________________
                                                     Andrew M. Tews, Special Agent
                                                     Federal Bureau of Investigation

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 14th day of May 2021.
                                                                            2021.05.14
                                                                            17:11:34 -04'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
